                Case 1:21-cr-00668-JB Document 2 Filed 05/12/21 Page 1 of 2              flfirue
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                 Plaintiff,                                   CRIMINAL NO.          l- bt*b
         vs.                                                  Count 1: 21 U.S.C. $$ 8a1(a)(1) and
                                                              (b)(l)(A): Possession with Intent to
 TIFFAI{Y L. ROBINSON,                                        Distribute 50 Grams and More of
                                                              Methamphetamine;
                 Defendant.
                                                              Count 2: 18 U.S.C. $$ 922(g)(l) afi924:
                                                              Felon in Possession of a Firearm.


                                            INDICTMENT
The Grand Jury charges:

                                                  Count   1



        On or about July 23,2019, in San Juan County, in the District of New Mexico, the

defendant,   TIFFANY L. ROBINSON, unlawfully, knowingly,                 and intentionally possessed

with intent to distribute   a   controlled substance, and the offense involved 50 grams and more         of

methamphetamine.

        In violation of 21 U.S.C. $$ 8a1(a)(1) and (bXlXA).

                                                  Count 2

        On or about luly 23,2019, in San Juan County, in the District of New Mexico, the

defendant, TIFFAI\-Y L. ROBINSON, knowing that she had been convicted of at least one

crime punishable by imprisonment for a term exceeding one yezr, specifically distribution of less

than 50 grams of a mixture and substance containing a detectable amount of methamphetamine

(two counts), knowingly possessed a firearm in and affecting commerce.

        In violation of 18 U.S.C. $$ 922(g) (1) md,92a.
               Case 1:21-cr-00668-JB Document 2 Filed 05/12/21 Page 2 of 2


                                   FORIEITURE ALLEGATIONS

       Upon conviction of any offense in violation of 21 U.S.C. $ 841, the defendant,

TIFFANY L. ROBINSON, shall forfeit to the United          States, pursuant to 21 U.S.C. $ 853, any

property constituting, or derived from, any proceeds obtained, directly or indirectly, as the result

of such offense(s) and any property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, the offense(s). The property to be forfeited includes,

but is not limited to, one MlCarbine rifle, serial number 195089.

       Upon conviction of any offense in violation of 18 U.S.C. $ 922(9), the defendant,

TIFFANY L. ROBINSON, shall forfeit to the United          States, pursuant   to   18 U.S.C. $ 924(d)

and28 U.S.C. $ 2461(c), any firearms and ammunition involved in the commission of the

offense(s), including, but not limited to, one MlCarbine rifle, serial number 195089.




                                                      A TRUE BILL:




                                                                    N OF THE GRAND ruRY

Assistant United States Attorney
